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       Attorney(s) for Display Technologies, LLC
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   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        DISPLAY TECHNOLOGIES, LLC,
                                                      CASE NO.: 8:22-cv-00062-CJC-KES
  11                       Plaintiff,
                                                      PATENT CASE
  12    v.
  13
        ETEKCITY CORPORATION,
  14                                                  JOINT STIPULATION OF
                           Defendant.                 DISMISSAL
  15

  16

  17
             Plaintiff Display Technologies, LLC, and Defendant Etekcity Corporation, by
  18
       their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
  19
             1.     All claims asserted by the Plaintiff in this Action are dismissed with
  20
       prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
  21
       without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
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             2.     Each party shall bear its own costs and attorneys’ fees with respect to the
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       matters dismissed hereby;
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             This Stipulation and Order shall finally resolve the Action between the parties.
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                                    JOINT STIPULATION OF DISMISSAL
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   1   Dated: February 4, 2022             Respectfully submitted,
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                                           /s/Stephen M. Lobbin
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                                 JOINT STIPULATION OF DISMISSAL
